Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 1 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 2 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 3 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 4 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 5 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 6 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 7 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 8 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 9 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 10 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 11 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 12 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 13 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 14 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 15 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 16 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 17 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 18 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 19 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 20 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 21 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 22 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 23 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 24 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 25 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 26 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 27 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 28 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 29 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 30 of 31
Case 1:18-cv-01943-DLF-ZMF Document 1 Filed 08/20/18 Page 31 of 31
